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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF OKLAHOMA

 JACKIE AND MARLA WRIGHT,

                       Plaintiffs,
                                                           No. CIV-17-882-HE
 v.                                                        State Court Case No.
                                                       CJ-2017-93 District Court of
 STATE FARM FIRE & CASUALTY
 COMPANY,                                                     Lincoln County

                       Defendant.


                                 NOTICE OF REMOVAL

      Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendant State Farm Fire and
Casualty Company, (“State Farm”) hereby removes this action from the District Court of

Lincoln County, Oklahoma, where it was filed as Case No. CJ-2017-93, to the United
States District Court for the Western District of Oklahoma. As the grounds for removal,
State Farm states as follows:

      1. On July 18, 2017, Plaintiffs Jackie and Marla Wright commenced an action

against Defendant State Farm in the District Court of Lincoln County, in the State of
Oklahoma, titled Jackie and Marla Wright v. State Farm Fire & Casualty Company,
Case No. CJ-17-93 (the “State Court Action”).

      2. State Farm received summons through the Oklahoma Insurance Department on

July 21, 2017.

      3. State Farm is filing this notice of removal within the 30-day period provided by
28 U.S.C. § 1446(b).




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      4. Pursuant to 28 U.S.C. § 1446(a) and Local Rule LCvR 81.2, State Farm has
attached as exhibits to this Notice of Removal true and legible copies of all documents
filed or served in the State Court Action. A copy of the Docket Sheet from the State
Court Action is attached as Exhibit 1. A copy of the Petition, filed July 18, 2017, is
attached as Exhibit 2, a copy of the issued summons is attached as Exhibit 3, and a copy
of State Farm’s Special Entry of Appearance is attached as Exhibit 4. At the time of filing
this Notice of Removal there have been no other filings or proceedings in the State Court
Action except those attached as Exhibits 2 through 4.

                                    Diversity Jurisdiction
      5. Plaintiffs allege that they reside in Lincoln County, Oklahoma. Ex. 2, Pet., ¶ 1.

      6. State Farm is and was at the time of filing the Petition a citizen of Illinois. See 28
U.S.C. § 1332(c) (“For the purposes of this section and section 1441 of this title…a
corporation shall be deemed a citizen of every State and foreign state by which it has

been incorporated and the State or foreign state where it has its principal place of
business….”). State Farm is a corporation incorporated under the laws of Illinois with its
principal place of business in Bloomington, Illinois. Thus, there is complete diversity of
citizenship between the Plaintiffs and Defendant.

      7. Plaintiffs further allege that their actual damages exceed $75,000.00. See Ex. 2,
Pet., p. 2 (“[T]he plaintiffs pray for judgment against the defendant for actual damages in
excess of the amount required for diversity jurisdiction pursuant to Section 1332 of Title
28 of the United States Code[.]”).

      8. Accordingly, the requirements for diversity jurisdiction are satisfied.




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                                      Venue and Notice
      9. Venue is appropriate in this Court, as this Court is in the district in which the
State Court Action was pending.

      10. Written notice of the filing of this Notice of Removal will be given promptly to
counsel for Plaintiff, and a copy of the Notice of Removal will be filed with the Clerk of
the Lincoln County District Court, as required by 28 U.S.C. § 1446(d).

      Accordingly, State Farm removes all claims in the State Court Action from the
District Court for Lincoln County, Oklahoma, to the United States District Court for the
Western District of Oklahoma.


 Dated: August 17, 2017                         Respectfully submitted,

                                                s/ Mia Vahlberg
                                                Mia Vahlberg, OBA No. 20357
                                                Katherine E. McDonald, OBA No. 32064
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                                                STATE FARM FIRE AND CASUALTY CO.




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                            CERTIFICATE OF MAILING

   I do hereby certify that on August 17, 2017, a true, correct and exact copy of the
NOTICE OF REMOVAL was served by U.S. first class mail to those parties listed below:

        Michael D. Lewis
        LAW OFFICE OF MICHAEL D. LEWIS
        6116 N.W. 63rd Street, Suite 100
        Oklahoma City, Oklahoma 73132

                                            s/Mia Vahlberg
                                            Mia Vahlberg




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